Case 6:14 qi9a0896-5ARDEEICEISIN DBELOE OLERKICIRAUT OGMIRTIQRANEFECP 5-60 PagelD 20

DOCH 20130540330 B: 10647 P: 5116
10/09/2013 11:37:28 AN Page 1 of G
Ree Fee: $52.50

Martha 0. Haynie, Comptroller

Orange Count y,
PU — Ret To: COUINDES DROSOICK ET AL

BFC AA

 

WELLS FARGO BANK, NATIONAL IN THE CIRCUIT COURT OF THE
ASSOCIATION, successor-by-merger to | NINTH JUDICIAL CIRCUIT IN AND
Wachovia Bank, National Association, a - FOR ORANGE COUNTY, FLORIDA
national banking association, individually,

and as agent for itself and Regions Bank, CASE NO.: 2008-CA-12672-O

an Alabama state chartered bank, successor
by merger to AmSouth Bank; and
REGIONS BANK, an Alabama state
chartered banking association, successor by
merger to AmSouth Bank,

Plaintiffs,
vs.

VP PHASE III, LTD., a Florida limited
partnership; KEVIN H. AZZOUZ, an
individual; SABRINA M. AZZOUZ, an
individual; et al.,
| Defendants.
/
_ DEFICIENCY JUDGMENT AS TO KEVIN H. AZZOUZ
AND SABRINA M. AZZOUZ —

THIS CAUSE came before this Court on October 3, 2013, upon the Motion for
Deficiency Judgment and Memorandum of Law in Support Thereof (the “Motion”) by WELLS
FARGO BANK, NATIONAL ASSOCIATION, successor-by-merger to Wachovia Bank,
National Association, a national banking association, individually, and as agent for itself and

Regions Bank, an Alabama state chartered bank, successor by merger to AmSouth Bank; and

. State of Florida, County of Orange
| hereby certify that the forage nis a tue and correct copy ofthe instrument fled in this offic,

EXHIBIT Configgntial iterygyhave Yeen proved, as-pecessary per F Jud. sol
- wah Heinlke dayof__/ 20 /

i “A” nT j , Mac! ei yj
_ - Shh Pepty Clerk.

   

+
Case 6:1 AGG OSS STRM FIED INOFEICE CLERK CIRGEUT COUBTIQRANACD G60 PagelD 21

REGIONS BANK, an Alabama state chartered banking association, successor by merger to

AmSouth Bank (“Plaintiffs”), and the Court, having considered the Motion and pleadings filed in

 

* - this cause, having heard the arguments of counsel, having heard testimony and reviewed the
evidence presented at the evidentiary heating on the Motion, and being otherwise fully advised
in the premises, the Court hereby:
FINDS, ORDERS, and ADJUDGES as follows: _

1. . The Motion is hereby GRANTED as set forth herein.

2. This Court has jurisdiction of and over Defendants, KEVIN H. AZZOUZ and SABRINA
M. AZZOUZ; and the subject matter of this action. |

3. On May 11, 2010, the Clerk of Court held a properly conducted judicial foreclosure sale
(the “Foreclosure Sale”) of the property which is the subject of this lawsuit (the “Subject
Property”). —

4, The Court finds that as of the date of the Foreclosure Sale the outstanding debt owed to

| Plaintiffs as set forth in the Summary Final Judgment of Foreclosure entered by this

_ Court on May 6, 2009 (the “Foreclosure Judgment”) against the Defendants herein is:

. A. Foreclosure Judgment Amount $59,675,567.66

B. Accrued interest from Judgment Date | $4,839,443.30
through Sale Date , ‘ Lo

C. Sale Fee $140.00

D. Publication Fee $4,532.20

- TOTAL: $64,519,683.16

5. The Court finds that the fair market value of the Subject Property on the date of the

Foreclosure Sale was $13,070,000.00 (the “Fair Market Value”).

0001010\131943\1534753v1
Case °: 46S BS SICESIN OPFOR CHER CIROO COMRTIZRARGFECD 61.60 PagelD 22

' 10.

0001010\131943\1534753v1

Subtracting the Fair Market Value from the amount of the Foreclosure Judgment, the
Court finds that a deficiency exists in the amount of $51,449,683.16, plus statutory
interest from the date of the Foreclosure Sale to the date of this deficiency judgment in
the amount of $11,041,479.82, for a total deficiency judgment amount of $62,491,162.98.

Accordingly, the Court hereby enters a deficiency judgment effective October 3, 2013, in

favor of Plaintiffs and ageinst Defendants, KEVIN H. AZZOUZ AND SABRINA M.

AZZOUZ, jointly and severally, in the sum of $62,491,162.98 (the “Deficiency
Judgment). . |

The Deficiency Judgment awarded herein shall bear interest at the rate of 4.75% per year

"in accordance with Section 55.03, Florida Statutes.

Pursuant to Section 55.10(1), Florida Statutes, Plaintiffs’ address is 301 South College

- Street, Charlotte, NC 28288.

Pursuant to Section 55.01, Florida Statutes, the Defendants’ addresses are as follows:

Sabrina Barber _
472 Valley View Drive
- Winter Garden, FL 34787

Kevin H. Azzouz
1776 Tonini Drive, Apt. 11,
San Luis Obispo, CA 93405-7449

Kevin H. Azzouz
8263 Via Rosa
Orlando FL 32836

-  . Kevin H. Azzouz
’ 2637 E. Atlantic Blvd.
Apt 18839 E
Pompano Beach FL 33062
Case 6: 1409 2NGESPRMEKAS INSEE GHERK CIRGUT CONE BRB Ge Pat 60 PagelD 23

Kevin H. Azzouz,
2360 Foothill Rd., Apt. A
Santa Barbara, CA 93105
Kevin H. Azzouz,
606 Broadway, #504,
Santa Monica, CA 90401
Kevin H. Azzouz,
1528 6th St., Apt. 302, .
Santa Monica, CA 90401
11. All Defendants shall fully cooperate with Plaintiffs in any post-judgment discovery,
including but not limited to any deposition in aid of execution sought to be taken by
Plaintiffs.
12. This Court retains jurisdiction of this case to award attorneys’ fees and costs to Plaintiffs
_and to enter such further orders that are just and proper.
FOR ALL OF WHICH AMOUNTS LET EXECUTION ISSUE FORTHWITH.
DONE AND ORDERED in Chambers in Orange County, Florida, this F . day of
' DONALD A. ow

CIRCUIT JUDGE

October, 2013.

 

0001010\131943\1534753v1
Case 6:1 nora 2OrS ls? PNBRHED INQPRICRBCIERK CIDER QSOUET GRAN CCIE PagelD 24

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via U.S. Mail'to the parties on the Service List below, this#“_ day of October, 2013..

o

 

Plaintiff's Counsel will furnish a true and correct copy of the foregoing via E-Mail to the parties
on the Service List below at the respective parties’ primary and secondary e-mail addresses (or to
the e-mail address indicated in the records of the Florida Bar) *Note: As this matter is in the
- deficiency phase, and as a foreclosure judgment has been entered eliminating interests of junior
lienor, as of September 19, 2013, only those parties affected by the deficiency will be served

with future pleadings and notices.
SERVICE LIST.
VIA U.S. MAIL AND E-MAIL
Brian A. McDowell, Esq. and J. Jeffrey Deery, Esq.
Edward Fitzgerald, Esq. - Winderweedle Haines Ward & Woodman, PA
Holland & Knight Post Office Box 1391 (32802)
200 S. Orange Avenue, Suite 2600 390 N. Orange Avenue, Suite 1500
Orlando, FL 32801 _ Orlando, FL 32801
Tel: 407-425-8500 oo ' Tel: 407-423-4246
Fax: 407-244-5288 Fax: 407-423-7014
Brian.mcdowell aw.com jdeery¥@whww.com

- Counsel for VP Phase II jreiss@whww.com
Counsel for Plaintiff, Regions Bank, an
Alabama state chartered bank

Steven W. Pickert, Esq. __ Sabrina Barber

Moye, O’Brien, O’Rourke, - 472 Valley View Drive
Pickert & Dillon, LLP Winter Garden, FL 34787
800 South Orlando Avenue sabrinambarber@gmail.com
Maitland, FL 32751 , PROSE

Tel: 407-622-5250
Fax: 407-622-5440

. swpickert@moopd.com
Counsel for PCL Construction Services, Inc.

0003010\131943\1534753v1
Case 6: 141rg2RIGISPRNEEK EG INDFEICESLERK CIRGRIT OSUBT ARAN WHO PagelD 25

VIA U.S. MAIL:

~ Gary Soles, Esq. and Kim Y. Nguyen, Esq.
450 South Orange Avenue, Suite 200
Orlando, FL 32801
Counsel for Plaintiff, Wells Fargo

Kevin H. Azzouz
8263 Via Rosa
Orlando FL 32836

Kevin H. Azzouz

2637 E. Atlantic Blvd.

Apt 18839 E
Pompano Beach FL 33062

Kevin H. Azzouz,

606 Broadway, #504,
Santa Monica, CA 90401

0001010\131943\1534753v1

Kevin H. Azzouz
1776 Tonini Drive, Apt. 11,
San Luis Obispo, CA 93405-7449

Sabrina Barber

472 Valley View Drive
Winter Garden, FL 34787
sabrinambarber@gmail.com
PROSE

Kevin H. Azzouz,

2360 Foothill Rd., Apt. A
Santa Barbara, CA 93105

’ Kevin H. Azzouz,

1528 6th St., Apt. 302,

Santa Monica, CA 90401
 

IN THE CIRCUIT COURT OF
THE NINTH JUDICIAL CIRCUIT IN
AND FOR ORANGE COUNTY, FLORIDA

CASE NO.: 08-CA-12672-O0

WACHOVIA BANK, National Association, a

national banking association, individually, and as . 5365

agent for itself and Regions Bank, an Alabama state boc 20100033397 ane pose 4 Fi 5

chartered bank, successor by merger to AmSouth Rec Fee: $44. 00 comptroller

Bank; and REGIONS BANK, an Alabama state Martha Q.. Haynie, Comp

chartered banking association, successor by merger to PU = Ret To: LOUNDES DROSDICK ET AL

— AREA Ra
Plaintiffs,

v.
VP PHASE III, LTD., a Florida limited partnership;
KEVIN H. AZZOUZ, an individual; SABRINA M.
AZZOUZ, an individual, THE RESIDENCES AT
VERANDA PARK, 4000 GRANDE AVENUE,
CONDOMINIUM ASSOCIATION, INC., A Florida
corporation, UNITED RENTALS, INC., a Delaware
corporation; PCL CONSTRUCTION SERVICES,
INC., a Colorado corporation, WHIRLPOOL
CORPORATION, a Delaware __ corporation;
GELANDER INDUSTRIES, INC., a Florida
corporation, U.S. BRICK & BLOCK SYSTEMS,
INC., a Florida corporation; P & A ROOFING AND
SHEET METAL, INC., a Florida corporation;
MODERN PLUMBING INDUSTRIES, INC., a
Florida _ corporation; PINNACLE ALARM
SYSTEMS SOLUTIONS, INC., a Florida
corporation; PARKING BUILDERS, LLC, an
Oklahoma limited liability company; HD SUPPLY,
INC., a Delaware corporation; TLC ENGINEERING
FOR ARCHITECTURE, INC., a Florida corporation;
PILLAR CONSTRUCTION INC., a Virginia
corporation; ACCESS CONTROL
TECHNOLOGIES, INC., a Florida corporation; WET
STRUCTURES POOLS & SPAS, INC., a Florida
corporation, SOUTHERN FIRE PROTECTION OF
ORLANDO, INC., a Florida corporation; THE
SHERWIN-WILLIAMS COMPANY, an Ohio
corporation, SOUTHMOST DRYWALL, INC., a
Texas corporation, HKS ARCHITECTS, INC., a
Texas corporation, LEWIS MILLWORK OF SW
FLORIDA, INC., a Florida corporation, SOUTHERN
ELECTRIC SUPPLY COMPANY, INC., a Delaware

eFiled in the Office of Clerk of Court, Orange County Florida 2010 Jan 20 09:04 AM Lydia Gardner

0001802\131943\1269477\1
 

Case. 6:14-cv-00901-PGR-KRS Document t1.1. Filed 06/1 Oi 4. Page Sof 66 Ragel> 27 ———

corporation d/b/a REXEL CONSOLIDATED;
GENERATION PROPERTY GROUP, LLC, a
Florida limited liability company,

Defendants.

 

PCL CONSTRUCTION SERVICES, INC., a
Colorado corporation,

Crossclaim Plaintiff,
Vv,

VP PHASE Ill, LLC, a Florida limited liability
company; MECHANICAL SERVICES OF
CENTRAL FLORIDA, INC., a Florida corporation;
COASTAL CONSTRUCTION PRODUCTS, INC., a
Florida _ corporation; BAKER BARRIOS
ARCHITECTS, INC., a Florida corporation; and
FORTUNE STONE, INC., a Florida corporation,

Previously unnamed Crossclaim Defendants.
/

PARTIAL SUMMARY FINAL JUDGMENT AS TO
COUNTS V_AND VI OF PLAINTIFFS’ COMPLAINT

THIS CAUSE came on for hearing before this Court on November 20, 2009, upon the
Motion for Partial Summary Final Judgment as to Counts V and VI of Plaintiffs’ Complaint (the
“Motion”) by WACHOVIA BANK, National Association, a national banking association,
individually (“WACHOVIA”), and as agent for itself and Regions Bank, an Alabama state
chartered bank, successor by merger to AmSouth Bank (“WACHOVIA AGENT”), and
REGIONS BANK, an Alabama state chartered banking association (“REGIONS”)
(WACHOVIA, WACHOVIA AGENT, and REGIONS collectively referred to as the
“PLAINTIFFS”), and the Court, having considered the Motion and the supporting affidavits filed
in connection therewith, having considered the pleadings filed in this cause, having heard the

arguments of counsel, and being otherwise fully advised in the premises, the Court hereby

0001802\131943\L269477N1
Case 6:14-cv-Q0901T-PGRB-KRS Document1.1 Filed 06/10/14. Dane of 66-P

Ge-s-6r-e
(rn

FINDS, ORDERS and ADJUDGES as follows:

1. PLAINTIFFS’ Motion is hereby GRANTED.

2. DEFENDANTS, KEVIN H. AZZOUZ (“K. AZZOUZ”) and SABRINA M.
AZZOUZ (“‘S. AZZOUZ”) (K. AZZOUZ and S. AZZOUZ together, the “DEFENDANTS”)
have filed each separately filed an Answer and Affirmative Defenses to PLAINTIFFS’
Complaint, but each said Answer and Affirmative Defenses does not create a genuine issue as to
any material fact and PLAINTIFFS are entitled to a judgment as a matter of law.

3. This Court has jurisdiction of and over the DEFENDANTS and subject matter of
this action.

4, PLAINTIFFS shall have and recover from DEFENDANTS, jointly and severally,
the sum of $66,064,880.72, which sum represents the amount of damages incurred by
PLAINTIFFS in connection with the breach of the Primary Azzouz Guaranty (as defined in the
Complaint) and the Secondary Azzouz Guaranty (as defined in the Complaint) by

DEFENDANTS. The amount of damages were calculated as follows:

A. Principal balance due (Wachovia Note) : $ 22,865,814.38
B. Accrued interest due (through January 20, 2010): $6,393,179.39
Cc. Costs: $8,240.25

SUBTOTAL (WACHOVIA NOTE) $29,267,234.02
D. Principal balance due (Secondary Wachovia Note): $5,800,000.00
E. Accrued interest due (through January 20, 2010): $1,738,652.92

SUBTOTAL (SECONDARY WACHOVIA NOTE): 3$7,411,984.59

F. Principal balance due (Regions Note): $22,865,814.38
G. Accrued interest due (through January 20, 2010): $6,393,179.39
SUBTOTAL (REGIONS NOTE): $29,258,993.77
GRAND TOTAL: $66,064,880.72

G001802\131943\1 2694771
Case 6:14-cy-00901-PG Bk c

  

8. The amounts awarded herein shall bear interest at the rate of eight percent (8%)
per year in accordance with §55.03, Florida Statutes (2009).

9. Plaintiffs’ address is Wachovia Bank, National Association, 225 Water Street,
FL0009, Jacksonville, FL 32202.

10. Judgment-Debtor/Defendant’s, KEVIN H. AZZOUZ, address is 12326 Park
Avenue, Windermere, Florida 34786, and his Social Security Number is nD

11. Judgment-Debtor/Defendant's, SABRINA M. AZZOUZ, address is 9120 Galleon
Drive, Orlando, Florida 32819, and her Social Security Number is Qa

12. It is further ordered and adjudged that each judgment-debtor shall separately
complete under oath Florida Rule of Civil Procedure Form 1.977 (Fact Information Sheet),
including all required attachments, and serve it on the judgment creditor’s attorney within 45
days from the date of this final judgment, unless the final judgment is satisfied or post-judgment
discovery is stayed. Jurisdiction of this case is retained to enter further orders that are proper to
compel the judgment debtor to complete Form 1.977, including all required attachments, and
serve it on the judgment creditor’s attomey or the judgment creditor if the judgment creditor is
not represented by an attomey.

FOR ALL OF WHICH AMOUNTS LET EXECUTION(S) ISSUE FORTHWITH.

DONE AND ORDERED in Orlando, Orange County, Florida, this GO day of January,

2010.

Stan Strickland

Circuit Judge

STATE OF FLORIDA, ons heaves on avas | HEREBY CERTIFY
that the above and é ie, eo kes cctateal lad In this office

to

b «pea wewetais, Giesk Circuit Court

Jan Z/

0001802\131943\12694701

 
Case 6:14-cv-00901-PGB-KRS Document1-1 Filed 06/10/14 Page 11 of 60 PageID 30

ra

CERTIFICATE OF SERVICE

I hereby certify that on January JO, 2010, I filed the foregoing using the CM/ECF
system, which will send an electronic notification of the filing of the foregoing to: Zachary J.
Bancroft, Esquire, Lowndes, Drosdick, Doster, Kantor & Reed, P.A., Post Office Box 2809,
Orlando, Florida 32802-2809; Brian A. McDowell, Esquire and Edward Fitzgerald,
Esquire, Holland & Knight, 200 S. Orange Avenue, Suite 2600, Orlando, Florida 32801,
Donald L. O’Dell, Esquire, Meier, Bonner, Muszynski, O’Dell & Harvey, 27 N. Orange
Avenue, Suite 1100, Orlando, Florida, 32801; David Willis, Rumberger, Kirk & Caldwell,
P.A., 300 South Orange Avenue, Suite 1400, Orlando, FL 32802; Lawrence R. Heller, Esquire
and Daniel M. Hirschman, Esquire, Gilbride, Heller & Brown, P.A., One Biscayne Tower, 2
South Biscayne Blvd., Suite 1570, Miami, FL 33131; Gregg W. McCloskey, Esquire,
McClosky, D’Anna & Dietrerle, LLP, 2300 Glades Road, Suite 400, Boca Raton, Florida
33431; John A. Kirst, Esquire, Gray Robinson, P.A., P.O. Box 3068, Orlando, FL 32802-
3068; William H. Beaver, Esquire, Gray Robinson, P.A., P.O. Box 3068, Orlando, FL 32802-
3068; Troy K. Smith, Esquire, Rogers Towers, P.A., 1301 Riverplace Blvd., Suite 1500,
Jacksonville, FL 32207-9000; Michael C. Sasso, Esquire, Michael S. Sasso, P.A., 1031 W.
Morse Blvd., Suite 260, Winter Park, Florida 32789; Steven W. Pickert, Esquire, Moye,
O’Brien, O’Rourke, Pickert & Martin, LLP, 800 South Orlando Avenue, Maitland, Florida
32751; James E. Shepherd, Esquire, Shepherd, McCabe & Cooley, 1450 State Road 434 West,
Suite 200, Longwood, FL 32750 and R. Scott Shuker, Esquire, Latham, Shukcr, Eden &
Beaudine, LLP, 390 North Orange Avenue, Suite 600, Orlando, Florida 32801.

I further certify that on January 2D 2010, I served the foregoing on the following non-
ECF participants by United States First Class Mail: Henry P. Johnson, Esquire, 6640 Willow
Park Drive, Naples, Florida 34109; Barry S. Webber, Esquire, Webber, Hinden, McLean &
Arbeiter, P.A., PO Box 848549, Pembroke Pines, FL 33084; The Residences at Veranda Park,
4000 Grande Avenue, Condominium Association, Inc., c/o Kevin H. Azzouz, Registered
Agent, 7065 Westpointe Blvd., Suite 1318, Orlando FL 32835; United Rentals, Inc. c/o
Corporation Service Company, Registered Agent, 1201 Hays Street, Tallahassee Florida 32301,
Parking Builders, LLC, C T Corporation System, Registered Agent, 1200 South Pine Island
Road, Plantation Florida 33324; Access Control Technologies, Inc., c/o Michael R. Knarreborg,
Registered Agent, 1028 W. Washington St., Orlando Fl 32805; The Sherwin-Williams
Company, c/o Corporation Service Company, Registered Agent, 1201 Hays Street, Tallahassee,
Florida 32301; Southern Electric Supply Company, Inc., c/o PB & LQ Financial Consulting,
Registered Agent, 1001 Brickell Bay Drive, Suite 2408, Miami, Florida 33131; and Generation
Property Group, LLC, c/o Joseph R. Lee, Registered Agent, 7065 Westpointe Boulevard,
#318, Orlando Florida 32835.

Obrre y forw

Attorney/Judicial Assistant

0001 802\131943\1269477\1
Case 6:14-cv-00901-PGBBRS Document 1-1 Filed 06/10/14 Page 12 of 60 PagelD 31

at
AMERICAN MOMENTUM BANK =)FDIC

Tampa, FL 33609

 

#eeeeaeEAEAUTO*FALL FOR AADC 328

1166 0.8070 as 0.360 7 3 52

Sabrina M Barber Homestead Acct Date 10/13/09 P. 1
Homestead Account, POD Mara E. Azzouz Primary Account 012
POD Melina M. Azzouz, POD Teresa B Kosta Enclosures

12253 Park Ave
Windermere FL 34786-7711

CHECKING ACCOUNTS

Account Title Sabrina M Barber Homestead acct
Homestead Account, POD Mara E. Azzouz
POO Melina M, Azzouz, POD Teresa B Kosta

H Momentum Premier Money Market Number of Enclosures 0
Account Number 012 Statement Dates 9/15/09 thru 10/13/09
Previous Balancing 1,066, -60 Number of Days in this Statement 29

Deposits . Average Ledger 220,658.40

1 checks/oOebits 1,066,776.85 Average collected 220,658.40

Maintenance Fee -00 Interest Earned 261.25
Interest Paid 261.25 / Annual Percentage yield Earned 1.50%

current Balance -00¥ 2009 Interest Paid 18,831.47

Oeposits and Other Credits

Date Description Amount
9/21 Closing Entry:Accrued int paid 261.25 Maye to Mme

Debits and Other withdrawals sat CD

Date Description Amount aI

9/21 Closing entry - zero balance 1,066,776.85-
Daily Balance Summary

H Date Balance Date Balance
9/15 1,066,515.60 9/21 .00

Notice to Our Depositors - As a result of internal accounting changes, on September
1, 2009 American Momentum Bank may reclassify your NOW account balance as defined
by Federal Reserve Reg D. This will not impact your account or FDIC Insurance,

 

MEMBER FDIC NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION FORM NO. V8-t0601.

EXHIBIT SB 000780

i “ B ”

 
Case 6:14-cv-00901- PGELARS Document 1-1 Filed 06/10/14 Page 13 of 60 PagelD 32

ba
at
AMERICAN MomMENTUM BANK

4830 W. Kennedy Bivd., Suite 200
Tampa, FL 33609

:

 

 

American Momentum Bank
4830 W. Kennedy Blvd. Ste. 200

Tampa, FL 33609

Sabrina M Barber Homestead Acct

PODs Mara Azzouz, Melina Azzouz, Teresa

Kosta, Mary Barber,Thaddeus Barber
12253 Park Ave
Windermere FL 34786

Time Deposit Statement
From October to December, 2009

 

 

Account number GM 1078 Transactions Totals

Interest Rate 2.230000% Deposits .00

Interest Rate Date 9/21/09 Withdrawals -00

Purchase Date 9/21/09 Interest 5,947.32 4

Renewal Date Withholding .00

Maturity Date 9/21/11 Forfeitures .00

Certificate Term 24 MONTHS

Type of Account 2 YR CD >100k

Days in Statement Period 102

Interest Earned 6,668.47

Annual Percentage Yield Earned 2.25%

Date Additions Subtractions Interest Balance

Balance Last Statement 1,066,776.85

10/21/09 1,957.00 1,068,733.85

11/20/09 2,026.01 1,070,759.86

12/21/09 1,964.31 1,072,724.17
MEMBER FDIC NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION, co = T drake FORM 0. VO-roRoR

nae 2004 Tad fhe

EXHIBIT

|_-c

 

SB 000781
Case 6:14-cv-00901- PGBS Document 1-1 Filed 06/10/14 0 Page 14 of 60 PagelD 33

4

AMERICAN MoMENTUM BANK

4830 W. Kennedy Bivd., Suite 200
Tampa, FL 33609

 

 

 

American Momentum bart
4830 W. Kennedy Blvd. Ste. 200
Tampa, FL 33609

Sabrina M Barber Homestead Acct

PODs Mara Azzouz, Melina Azzouz, Teresa
Kosta, Mary Barber,Thaddeus Barber
12253 Park Ave

Windermere FL 34786

Time Deposit Statement
From January to March, 2010

Account number Gn 07s Transactions Totals
Interest Rate 2.230000% Deposits .00
Interest Rate Date 9/21/09 Withdrawals 1,076 ,532.06
Purchase Date 9/21/09 Interest 3,807.89
Renewal Date Withholding .00
Maturity Date 9/21/11 Forfeitures -00
Certificate Term 24 MONTHS

Type of Account 2 YR CD >100k

Days in Statement Period 47

Interest Earned 3,086.74

Annual Percentage Yield Earned 2.25%

 

Date Additions Subtractions Interest Balance
Balance Last Statement 1,072,724.17
1/21/10 2,033.58 1,074,757.75
2/17/10 1,076 ,532.06 1,774.31- J
2/17/10 1,774.31 .00
MEMBER FDIC NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION FORM NO. VS-1060L,

SB 000782
Case 6:14-cv-00901-PGBAKRS Document 1-1

Nt Bank

AIG Federal Savings Bank
P.O. Box 8733
Witmington, DE 19899-8733

000997-02262010

Sabrina M. Barber
Homestead Account
12253 Park Ave.
Windermere FL. 34786

Filed 06/10/14mPage 15 of 60 PagelD 34

Page Number: 1
Start Date: 02-17-2010

End Date: 02-28-2010
Account Number 275

Account Summary for Signature Money Market Checking - 9NNB275

Starting Interest. oO Service Ending
Balance + Deposits + Paid - Withdrawals - Charges = Balance
-0.00 1,076,532.06 513.31 0.00 0.00 1,077,045.37

eee eee eee eee eee Kae hee RAT HAHA Kee ahha hee kehhhhkkhhhkkhaetheehkbaebtdkkchi ht hankhe

Transactions for Signature Money Market Checking - §§68275

, Date Description
02-17 Deposit
02-26 Eff. 02-28 Credit Interest

cp ~Debits ~

Checks/ Deposits/
Cradits Balance -
1,076,532.06 1,076, 532.06 /
§13.31 1,077,045.37

The Annual Percentage Yield Earned for this account is 1.46%.

Summary of Overdraft and Returned Item Fees

Total for Total .
This Period Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees $0.00 $0.00
Interest Rate Summary
Date Rate Date Rate Date Rate
02-17 1.450 19
Interest Paid YTD: 513.31 4%
op” 0 ve
Member @

FDIC

 

SEE REVERSE FOR IMPORTANT INFORMATION

SB 001005
ere

Case 6:14-cv-00901-PGBAKRS Document 1-1 Filed 06/10/14,,,Page 16 of 60 PagelD 35

ae

IN THE CIRCUIT COURT OF THE
NINTH JUDICIAL CIRCUIT, IN AND
FOR ORANGE COUNTY, FLORIDA

THE DEPOSITION OF: P)
SABRINA M. AZZOUZ Certt C
Taken by the Plaintiff ified
WACHOVIA BANK, National Association, a
national banking association, individually, and as
agent for itself and Regions Bank, an Alabama state
chartered bank, successor by merger to AmSouth

Bank; and REGIONS BANK, an Alabama state chartered
banking association, successor by merger to AmSouth Bank,

Plaintiff,
-vs- CASE NO: 08-CA-12672-0

VP PHASE III, LTD., a Florida limited partnership;

KEVIN H. AZZOUZ, an individual; SABRINA M. AZZOUZ,

an individual; THE RESIDENCES AT VERANDA PARK, 4000
GRANDE AVENUE CONDOMINIUM ASSOCIATION, INC., a Florida
corporation; UNITED RENTALS, INC., a Delaware corporation,
PCL CONSTRUCTION SERVICES, INC., a Colorado corporation,
WHIRLPOOL CORPORATION, a Delaware corporation; GELANDER
INDUSTRIES, INC., a Florida corporation; U.S. BRICK &
BLOCK SYSTEMS, INC., a Florida corporation; P & A ROOFING
AND SHEET METAL, INC., a Florida corporation; MODERN
PLUMBING INDUSTRIES, INC., a Florida corporation; PINNACLE
ALARM SYSTEMS SOLUTIONS, INC., a Florida corporation;
PARKING BUILDERS, LLC, an Oklahoma limited liability
company, HD SUPPLY, INC., a Delaware corporation; TLC
ENGINEERING FOR ARCHITECTURE, INC., a Florida corporation;
PILLAR CONSTRUCTION, INC., a Virginia corporation; ACCESS
CONTROL TECHNOLOGIES, INC., a Florida corporation; WET
STRUCTURES POOLS & SPAS, INC., a Florida corporation;
SOUTHERN FIRE PROTECTION OF ORLANDO, INC., a Florida
corporation; THE SHERWIN-WILLIAMS COMPANY, an Ohio
corporation; SOUTHMOST DRYWALL, INC., a Texas corporation;
HKS ARCHITECTS, INC., a Texas corporation; LEWIS MILLWORK
OF SW FLORIDA, INC., a Florida corporation; SOUTHERN
ELECTRIC SUPPLY COMPANY, INC., a Delaware corporation d/b/a
REXEL CONSOLIDATED; GENERATION PROPERTY GROUP, LLC, a
Florida limited liability company,

Defendants.

EXHIBIT

_—
Case 6:14-cv-00901-PGBAKRS Document 1-1 Filed 06/10/14 9,Page 17 of 60 PagelD 36

/

PCL CONSTRUCTION SERVICES, INC., a Colorado corporation,

 

Cross-claim Plaintiff,
-vs-

VP PHASE III, LLC, a Florida limited liability
company, MECHANICAL SERVICES OF CENTRAL FLORIDA,
INC., a Florida corporation; COASTAL CONSTRUCTION
PRODUCTS, INC., a Florida corporation; BAKER
BARRIOS ARCHITECTS, INC., a Florida corporation; and
FORTUNE STONE, INC., a Florida corporation,

Previously unnamed Cross-claim Defendants.

 

DATE: March 15, 2010
TIME: 2:08 p.m. - 4:17 p.m.
LOCATION: 450 South Orange Avenue
Suite 800
Orlando, Florida 32812

REPORTER: Lisa G. Smith, RPR

MJC REPORTING, INC.

MJC Reporting, Inc.
1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGBARRS Document 1-1 Filed 06/10/14«mPage 18 of 60 PagelD 37

J aA WN & WwW NO F

0

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

1314 E. Robinson St.

APPEARANCE S:

ZACHARY J. BANCROFT, ESQUIRE,
AMANDA CARUSO, ESQUIRE, of:
Lowndes, Drosdick, Doster,
Kantor & Reed, P.A.

450 South Orange Avenue

Suite 800

Orlando, Florida 32801

(407) 843-4600

zachary. bancroft@lowndes-law.com
on behalf of the Plaintiff

FRANK M. BEDELL, ESQUIRE, of:
Winderweedle, Haines,

Ward & Woodman, P.A.

Post Office Box 1391

Orlando, Florida 32802-1391
(407) 423-4246
fbedell@whww.com

on behalf of Regions Bank

JONATHAN B. ALPER, ESQUIRE

274 Kipling Court

Lake Mary, Florida 32746-4124
(407) 444-0404
jalper@alperlaw.com

on behalf of Sabrina M. Azzouz

MJC Reporting, Inc.
407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGBKRS Document 1-1 Filed 06/10/14,,Page 19 of 60 PagelD 38

 

 

A
57
1 CD?
2 A. No.
3 Q. Any other deposits or, you know, other than
4 interest accruing on it?
5 A. No.
6 Q. What do you intend to do with the money in
7 that account?
8 A. Purchase another home.
9 Are you currently looking for another home?
10 A. Yes.
11 Q. Are you working with a broker at all?
12 A. A few.
13 Q. Do you have the names of those brokers?
14 A. No.
15 Q. You don't know who they are?
16 A. There's more than one. I would have to look
17 it up.
18 Q. Is Suzi Karr Realty one of them?
19 A. No.
20 Q. Have you made any offers on a new home?
21 A. I have made one offer.
22 Q. What was the purchase price?
23 A. 220,000.
24 Q. Is the purchase of a new home tied in anyway
25 to when you can sell the current home that you're Living|

 

MJC Reporting, Inc.
1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
h

 

Case 6:14-cv-00901-PGB IRS Document 1-1 Filed 06/10/14 _Page 20 of 60 PagelD 39

 

 

58
1 in?
2 A. No. h
3 Q. Would you be able to -- well, never mind.
4 What's your time table for purchasing a new home?
5 A. I am actively looking for the right property.
6 Q. When would you like to close on a new home by?
7 Do you have a goal of closing date?
8 A. Not yet. \
9 Q. What happened with respect to the $220,000
10 offer you made?
11 A. It's pending short sale.
12 Q. So it's a short sale offer that you made on
13 another property?
14 A. Yeah.
15 Q. You'd also produced a copy of your divorce
16 judgment and the settlement agreement as well. In there
17 it said that you and Mr. Azzouz exchanged financial
18 affidavits, but they weren't being filed with the Court.
19 Do you have a copy of those financial affidavits?
20 A. I may have a copy of my financial affidavit.
21 Q. Another thing I note from the judgment is that
22 it leaves the subject of alimony open for a later date.
23 Are you receiving any alimony?
24 A. No.
25 Q. I assume you're not paying any either?

MJC Reporting, Inc.

1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGB-JARS Document 1-1 Filed 06/10/14 phage 21 of 60 PagelD 40

 

 

 

61

1 Q. Okay.

2 A. Or former father-in-law's home.

3 Q. Do you know if he has any offshore bank

4 accounts of any kind that you're aware of?

5 A. I don't know.

6 Q. Has he had any reason to have written you a

7 check or anything in the past year?

8 A. No.

9 Q. I'm just trying to figure out where he might
10 have his bank account. Let me just talk to Frank and
11 Amanda for a minute.

12 MR. ALPER: Are you almost finished? Because
13 I have a couple -- let's chat over here.

14 (Recess in the proceedings. )

15 MR. BANCROFT: Okay. I don't have any more

16 questions.

17 CROSS EXAMINATION

18 BY MR. ALPER:

19 Q. I'd like to ask a few questions to clarify

20 what is a few misstatements. You talked about an offer
21 you made on a new residence for approximately how much
22 money?

23 A. 220.

24 Q. What are you looking for as to -- what kind of
25 property are you looking for as a new permanent V

MJC Reporting, Inc.
1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
\

 

Case 6:14-cv-00901-PGBKKRS Document 1-1 Filed 06/10/14,mk age 22 of 60 PagelD 41

 

 

62

1 residence?

2 A. I'm looking for over a million plus for a new A
3 residence.

4 Q. House --

5 A. House with land and I would like it to be

6 close to the West Orange Trail.

7 Q. Okay. There's a -- you testified about a

8 Fidelity IRA that you got in the divorce, remember that?
9 A. Yes.

10 Q. And you said the money came from your divorce.
11 I'd like to ask you, did the money come from your

12 husband's IRA -- did the money come from another IRA?
13 A. Yes.
14 Q. And on the Park Avenue home, where in the
15 house are you now residing?
16 A. At 12253 Park? I reside over the garage.
17 Q. So who occupies the master bedroom?
18 A. My parents.
19 Q. And who owns most of the household effects in
20 the house?
21 A. My parents.
22 Q. And do you consider this a permanent
23 residence?
24 A. No.

25 Q. And why not?

MJC Reporting, Inc.

1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGB-KRS Document 1-1 Filed 06/10/14"Page 23 of 60 PagelD 42

 

 

63

1 A. I would never want to live across the street
2 from my old home.

3 Q. And is it located across the street?

4 A. It is across the street, diagonally across the
5 street from my old home.

6 Q. So is it correct to say this is a temporary

7 residence while you're searching for your own homestead?
8 A. Yes.

9 Q. That's all I have.
10 REDIRECT EXAMINATION

11 BY MR. BANCROFT:

12 Q. Okay. I do have a follow-up. I guess I'ma
13 little confused. You said you made an offer on a home
14 that was 220,000, but yet you're looking for a home

15 that's over a million. So can you explain --

16 A. Yes.
17 Q. -- if you've made an offer on a home that's

18 220, how are you looking for a home that's over a
19 million?
20 A. It was a good deal, so I was considering
21 flipping it.
22 Q. Okay. So this -- the home that you made the
23 offer on for 220, you did not intend that to be your

24 homestead?
25 A. My proof of funds were funds that were -- the

1314 E. Robinson St. 407-894-7545 Orlando, FL 32801

MJC Reporting, Inc.

 

V
 

eo

Case 6:14-cv-00901-PGB«KRS Document 1-1 Filed 06/10/14Page 24 of 60 PagelD 43

 

 

64
1 250,000 in the AIG account.
M 2 Q. Okay. Have you made any offers on homes in \
3 the million dollar range?
4 A. Not yet.
5 Q. How many -- have you looked at any homes in
6 that range?
7 A. I have looked at homes in that range, yes.
8 Q. How many have you looked at?
9 A. Recently and over the years, I've looked at
10 quite a few.
11 Q. Okay. I don't have any more questions. You
12 have the option to -- if I have the deposition prepared,
13 you have the option to read it over before it gets
14 finalized to decide if, you know, you've made any
15 mistakes or if the court reporter mistranscribed
16 something you may have said. That's up to you and your
17 attorney.
18 MR. ALPER: She does not waive. She will
19 read.
20 MR. BANCROFT: Okay.
21 (Deposition concluded at 4:17 p.m.)
22 * * * * *
23
24
25

MJC Reporting, Inc.

1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGBAKRS Document 1-1 Filed 06/10/12 ami a9 25 of 60 PagelD 44

oO oO JN HD WH FPF W DN +

NHN FP FP FP FP BP BP BP BP Bp pe
oo Oo TN HH bh WwW ND HF Oo

21
22
23
24
25

fo. 65

ERRATA SHEET

DO NOT WRITE ON TRANSCRIPT ~- ENTER CHANGES HERE
IN RE: Wachovia Bank vs. VP Phase III, LTD, et al

DEPOSITION OF SABRINA M. AZZO0UZ taken March 15, 2010

Page Line Correction Reason

oy 2 y — Vy
By
the witness has not cppeared io.

read and sign the deposition

eR

Under penalties of perjury, I declare that I have read
my deposition and that it is true and correct subject to
any changes in form or substance entered here.

 

DATE SABRINA M. AZZOUZ

(Note: This document no longer needs to be notarized.)

MJC Reporting, Inc.

1314 E. Robinson St. 407-894-7545 Orlando, FL 32801
Case 6:14-cv-00901-PGB-KRS Document 1-1

Balance +
1,078,296.60

 

INE Bank

AIG Federal Savings Bank
P.O. Box 8733
Wilmington, DE 19899-8733

000932-04302010

Sabrina M. Barber
Homestead Account
12253 Park Ave.
Windermere FL 34786

Filed 06/10/14 Age 26 of 60 PagelD 45

Prone

Page Number: 1
Start Date: 04-01-2010
End Date:

Account Number

0-2010
276

Account Summary for Signature Money Market Checking - 998275

Starting

Deposits +
0.00

Interest
Paid - Withdrawals -
1,022.29 234,957.56

Service

Charges
25.00

Ending
Balance
844,336.33

He Fete Wee ee ee te te eee He ee tee te We ae Hee HH HH EERE aah

Date

‘04-01
04-15
04-15
04-29

Transactions for Signature Money Market Checking - S§8275

Description

Starting Balance

Wire Transfer Fee
Withdrawal

External Withdrawal CHASE

EPAY

04-29

External Withdrawal CHASE

EPAY

04-30

Date
03-25

Member

FDIC

Credit Interest

The Annual Percentage Yield

Checks/
Debits

~25.00
-227,026.20
~746.80

-7,184.56

Earned for this account is

Deposits/
Credits

1,022.29

1.318.

Balance
1,078,296.60
1,078,271.60

851,245.40
850,498.60

843,314.04

944,336.33

Summary of Overdraft and Returned Item Fees

Total for Total
This Period Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees $0.00 $0.00
Interest Rate Summary
Rate Date Rate Date Rate
1.322 04-08 1.292
Interest Paid YTD: 2,786.83

SEE REVERSE FOR IMPORTANT INFORMATION

EXHIBIT

<< F”

 

 

SB 001009
Case 6:14-cv-00901-PGB-KRS Document 1-1

4 (0 tmwe Cmeaennd @e eEE

Metes

Ounl
TITLE COMPANY

G. Note:

DO. NAME OF BORROWER:

€. NAME OF SELLER:

F, NAME OF LENDER:
PROPERTY ADDRESS: Ortvo, Winter

H. SETTLEMENT AGENT;

 

suasmurs FORM $099 SELLER STATEMENT: The information contained
SREY DEAE OF GIDEY BRACEICD wil DO irposed on cove tem
tue the Grose Procests.

Filed 06/10/14 i

   

ce es ewe) FO) Nm ee,

Settlement Statement
U.S. Cepartment of tourng and Urban Development

1, 2 OFeHA 3. Urins.

6 FILE NUMBER 7. LOAN NUMBER
8. MORTGAGE INSURANCE CASE NUMBER
TieExpress Settlement

tovate.
aon

Honk it sett nA Yr deme bartiorint oh Loternal Revenue Dorelce, 7 you gre raquredto {za eeaturn,

 

 

 

 

 

required provide the eetiienvent egent (Fed. Tax (0 3552) iectificatien . W you @ aot provide piety dhe ered
rovens ayn re er tut a Ta i: te cen ‘that the suraber crewmen ie my Soory meeber,
We © nen“, ¢ > es ®, at
COLLER IS)!
GELLER(S) PriCe on fer}

 

 

 

SB 000611

age 27 of 60 PagelID 46
Case 6:14-cv-00901-PGB-+ RS Document 1-1 Filed 06/10/14.Rage 28 of 60 PagelD 47

0 Pre CUE O10 wee

EO NE NE FOF dtDteeN Re

HOUSING AND URBAN DEVELOPMENT Fée Number: 10-0041 PAGE 2

 

PAID FROM PAID FROM
BORROWER'S SELLER'S

FUNDS AT FUNDS AT
SETTLENENT SETTLEMENT

HUD CERTIFICATION OF BUYER AKD SELLER

 

 

WARMENG: IT 19 ACKING TO RKOWNGLY MAKE FALSE STATEMENTS ‘The KUO9 Satta: cane) h b Reve prepared ta 8 true end scowsie sccourt ef Ns
UMTED SIATAS On Tw OR SOT CLAN FOR PEMA UPON CONVICTION tansection. { have ca’ owl 1@ Die bunds $5 Ge dieburned [a atcardsnce with fi wert,
CAM INCLUOE A Dic AND IMPOR: ENT. PCR CRT 6 TITS $8;
U.S. COOR SECTION 1001 AKD EECTION 1019.

SETTLEMENT AGEMT: DATE:

 

 

SB 000612
Case 6:14-cv-00901-PGB#@RS Document 1-1 Filed 06/10/14,Page 29 of 60 PagelD 48

 

wig} Bank

AIG Federal Savings Bank
P.O. Box 8733
Wilmington, DE 19899-8733

000628-02282011

Sabrina M. Barber Page Number: 1
72 Valley View Dr. :

Start Date: 02-01-2014

Winter Garden FL 34787 End Date: 28-2014

Account Number 009

Account Summary for Signature Money Market Checking - 0009

Starting Interest Service Ending
Balance + Deposits + Paid - Withdrawals - Charges - Balanca
228,650.49 0.00 178.42 228,650.49 0.00 178.42

te te ek ok ee te re ie i a i he eH KHER HEH HEHEHE EAR UNAAATHWAAEHKKHAaa NaH kK KKke ahhh kkkee

Transactions for Signature Money Market Checking - 30009

Checks/ Deposits/
Date Description Debits Credits Balance
02-01 Starting Balance , . : . 228,650.49
02-28 1007 Check -226,650.49 0.00
02-28 Credit Interest 178.42 178,.42Y

Checks for Signature Money Market Checking -§§O009

Date Check Number. . Amount
02-28 1007 228,650.49

* Indicates Non-Consecutive Checks
(E) Electronic Check

The Annual Percentage Yield Earned for this account is 1.06%.

Summary of Overdraft and Returned Item Fees

Total for Total

This Period Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees $0.00 ~ $0.00

 

fBic 2

SEE REVERSE FOR IMPORTANT INFORMATION ome Moria

SB 001034

 
Case 6:14-cv-00901-PGBRRS Document 1-1 Filed Oe OF am SOE 30 of 60 PagelD 49

FNTG Bank

Sabrina M. Barber
472 Valley View Dr.
Winter Garden FL 34787

628
Page Number: 2
Start Date: 02-01-2011

End Date: 02-28-2011

Account Number wp

Interest Rate Summary - Gp0009 CONTINUED

Date Rate Date Rate Date Rate
01-19 1.055 02-28 0.000

Interest Paid YTD: 399.53

Account Summary for Signature Money Market Checking - @yjs275

Starting Interest Service Ending
Balance + Deposits + Paid - Withdrawals - Charges - Balance
722,849.60 0.00 582.13 644,931.23 0.00 78,500.50

PR eS ERE SESE S EE SSPE PEPE ESE POSE SESE SRE PERCE SEEPS EES SERRE REESE SS SESE EER SLES

Transactions for Signature Money Market Checking - Qj§g8275

Checks/ Deposits/
Date Description Dabits Credits Balance
02-01 Starting Balance 722,849.60
02-28 External Withdrawal CHASE - -3,581.23 719,268.37
AUTOPAY
02-28 169 Check -641, 350.00 77,918.37 |
02-28 Credit Interest §82.13 78,500.50 VY

Checks for Signature Money Market Checking - Qggjs275

Date Check Number Amount
02-28 169 641, 350.00

* Indicates Non-Consecutive Checks
(E) Electronic Check

 

SB 001035
Case 6:14-cv-00901- PGB RRS Document 1-1 Filed Oe/10/14 Page 31 of 60 PagelD 50

Page Number: 3
Start Date: 02-01-2011
End Date: 02-28-2011

Account Number Goo

Sabrina M. Barber
472 Valiey View Dr.
Winter Garden FL 34787

Signature Money Market Checking - Gr2"s CONTINUED

The Annual Percentage Yield Earned for this account is 1.09%.

Summary of Overdraft and Returned Item Fees

Total for Total

This Period Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees $0.00 $0.00

Interest Rate Summary

Date Rate Date Rate Date Rate
11-18 1.085 02-28 1.025

Interest Paid YTD: 1,254.49

SB 001036
Case 6:14-cv-00901-PGB BRS Document 1-1 Filed 06/10/14 Page 32 of 60 PagelD 51

 

 

 

 

DIUTEY FVIUE VOL WE ow

 

JeuolN}YSu|
__biopséag SspezA Nowy faq OW
%0'O0L Sf So'se6'sses SNTWA TWLOL
99'0 7 00°689'S ($415) spung papel) aBueyoxg
Ybe'66 A 90'96Z'0S8$ SOANEWOIY YSeD puke Ysed
UNOS 7 LUsLerZ $0 Se
Jo wraoued ener ey
(uoneoore posse uv wosouda Jou $00P) SONIQIOH JO AUVWNS
"230 *sonjesas Quaunsnipe
soocesuy ufucus © Se yone
TUNOIOC Ot} 0} Pappas ewosy
POUINAI 10 LBSUTA BA JO} SO
ons) see) eponvoury G4 Se iam
6p ‘sees juowodouew Supnpouy
Sesuodxo snhooupyaasy
Osusdrg so owr0Iu] 84
syonapaun 0 suonppe so’se6'sses (zs‘ste'e)s SNTWA NI BONVHO
umo sod pue (sucutod  $0°S86'SSe$ r SO'Sse6'sses SNTVA ONIONS cose-te> (cos)
tna 20 a) erent, pr (Q00SR'EL) SLND  (z9'b0z'F) esuadxg J0 WOU] JENIO quowayeys snek jnoge suopsanD
Aq poppe anen way ojnsodes sy y .
eon uomaroia fe (6z'9ee) oo'oez (uonepeidag)juonepeddy yaxyey
JOOU0LU OLA C} OND SpUDULASEAUT bP ceL Stee yS0J9)}U} pue Spusplaig 2eze-ee2 (gee)
ot
een lonomareg /* 6P'000'0L8 - junossy 0} sysodag 0000-2142 14 HOW3a YNOLAVO
suonoposddy 0x0 - 2s'0z6'6s8$ 3NWA ONINNIDZA 001 SLINS
BESLEIL = LAAEL LB MEIZ > BRILL SNN3AV NOSYVW €Z91
e1eq 0) 0, yyuow sTuL oT LsnuLsyia
ANIVA LNNODOV NI SONVHO YOSIAGY LNJONIdSaNI HNOA
S0°S86'sse$ sONIBA JUNOISY je}OL AXVAIANS LNNODOVY
ALTIGWTT Galan b30z ‘te- b Aint :pouag Sunioday INSWALVLS ATHLNOW
UIsUVE VNIEYS NLL
OT) SasiddvaiLNa YSNVTS
LL Lea wnesoy

EXHIBIT

SB 001472

soy?
Case 6:14-cv-00901-PGB-KRS Document 1-1 Filed 06/10/14 PAGE 33 of 60 PagelD 52

 

 

 

 

 

 

 

 

i
- JeuolznyISUy

LELE-884 (SBE) OT) LSNYLSUIS
p10z abtg Sspesapouiy fall ow <sostapy yuapuadapyy sNOA INSUOD EsUONsaNH
so'see'sses SNTIVA LNNODSV WLOL
so'se6'ssa$ SONIGIOH WLoOl

00'689'S NOILISOd ONO -SONNA O2FOVEL FONVHOXE WLOL
o0'689'ss (s413) SONNd GA0VxL 3ONVHOXS IWL1OL
. 413 SYSNIN G109
00'689'SS 69'9ss ool xa SYOLOSA Lav
ONiBA Joe oud Aquend disnd ucrdusseg jueunseau|

Bursoig hequks
(8413) SONNJ G30VHL SONVHOXA
$0°96z'0S8$ S3AILVNYSL1V HSV9 8 HSVD WLOL
$0'96z'0ses Sd!lS AG G3YSAOD LON PLYO! LNNODDY LISOd3Sd GSYNSNI Dida
anjea joysnyy uondussag yusuqsaau}
S3ALLVNYALTV HSV9 ONY HSVD
WVWL30 SONITTIOH
ALIMISYIT GS. LL0z ‘Le - & Aine :pousd Bumodey LNSWALVLS ATHLNOW
UMIGNVE VNINEVS NLLY
O71 S3BSIHd¥3LNA YINVIS

bub qunoosy

a ‘nee

 

SB 001473
-1 Filed 06/10/14 Page 34 of 60 PagelD 53

Case 6:14-cv-00901-PGB-KRS Document 1

jeuonnynsuy

 

 

 

   

 

 

    

 

 

 

    

 

 

  

 

 

   

 

 

     

 

 

  

 

 

2eze-e0z (eee) 911 LSNULSUIS
p joe sheg SpesjyNsury fall OW wosjapy Juapuadspyl snod ynsuog Esuogsany
$9'SZ
ASSYSLNI LNNODSY LISOdSG GaYNSNI
LbO@e/Z0 “JIGVAVd
ANNODOVv LISOd30
GSYNSNI -LSSYALNI
SBYVHS 9'SZ NO
OdIS AG GBYZAOD LON PLval
Sige - Sige pivOWN ANNODSV LISOd3G OSYNSNI D104 ysava}u] pue Spusplig 62/20 62/20
bE O77 ISNULSUIS
(g2'Sz) - : : Bad LW E/EO-LLOZ/OEISO —- BSUS Jo BOUT 28LnO 80/20 80/20
+ a ov ISNeisuld
(ot'ges) . : - 334 LW! E/BO-LLOZ/OE/SO —- @suadxS Jo aLUOSU] Jeo 80/20 $0/20
tL On LsnuLsals
(se'se) : - - 334 LWOW b1OZ/0E/e0-LLOZ0Eis0 = esuadx Jo BWUODU] JBYIO 60/20 80/20
a O77 ISNYLsUls
(€2'99) : . - 33d LWOW bOC/0EV60-1L0c/0E80 — ssuadxS Jo auOOU| ANID 80/20 80/20
bbb oT snyLsuls
(ez°z06'z) : - - 333 LWD BOLLOZ/OEISO = BsuBdxz 10 atOOUj JENIO 80/20 80/40
tL OTN ISNYLSuld
(Sz'b ze) : - * Bad LIOW LLOZ/0c/60-L LOZ/0E/G0 == esuadxg Jo awoouy sao 90/20 80/20
HR om isnwiseis
(82 'c6L)s -$ - : 333 LWS LLOZ@/0EVG0 = Ssusdx3 10 swcoUl aD 80/20 80/20
qunouny eeu Agueno dISNnd usgduoseg) edky Ayansy neg eg
uogsesues) froquidg qWeweResS  voRorsuelL
MVL30 SNOILOVSNVYL
ALMiayn osuwn Lb0Z ‘LE - + Aine :pousg Bunsodey LANSWALVLS ATHLNOW
YAaUVa YNRIEVS NLLY
O71 SasidaLNa yaya

7
L4

Saas

 

 

SB 001474
ge 35 of 60 PagelD 54

Case 6:14-cv-00901-PGB-KRS Documenti1-1 Filed 06/10/14 Pa

o

Jeuornysu}
b joy s6eg apeapzlaawy aL] ow

sod

veew LNAWSLYLS SO GNA - TWNOILNLILSNI SOVYLIMAWY GL ONISOOHD YOd NOA ANVHL oes

2e2e-8G2 (98) O11 LSNULSals
<s0S{Apy juapuadapul INOA ynsuoD ZsuoNsanH

 

 

 

 

 

 

 

 

 

Bi anod 03 orqeandd rd (eS) di y id Hf SOF $
Yt Aq potence jou ase SETVOVOG VOT SLL “UOT IO “WN ‘YSN MuOR GL 10 “WN ‘Nueg aL Aq Dioy pue sunt oravondde or dn NOIQd 8 Basayasg 2n04 uy van wu y 380d0d pasnsus S103
so's6z'z09$ ¥N VSN Hueg GL
oo'cos'zez$ YN WUeG GL
So'eez'oses pouvjeg Buysoj5

; ANNODOV LISOdSd
So'96z'0S8 St'ge GSyNSNI -LSSYSLNI paniesay 62/20 62/20

ANNODSY LISOd30

GSYyNSNI 3104 NOILdW3AG3y

es OdiS Ad GSY3SA09 LON FEV!
06'6Sz 0S8 (29°L02'P)$ ANNODSY LISOd3aG G3YNSNI DId4 Pasaalieg LL/Z0 Lb/Z0
_LS'LSP'eS8S aaueyeg Bujuado
eoureg junowy uonduoseg vonsesues) eyeg aed
yuawenes uonoesualy
ALINLOV LNNODDY LISOd30 GSYNSNI
Sb'9€$ SWOONI LSSYSLNI WWLOL
SL-9e SL'SE 96°27 00S0°0 ve 06'6Sz'0S8 80/20
-$ 6L'8S 61°6$ 00s0°0 Z LS't9b'ySes LorZ0
pied peniooy penuosy eyny skeqg jo eoureg aeg
OLW OLW youu] 389201U) JOqLUNN uibag
JSNadXa/LIGSYD LSAYALNI SOVYLIMANY GL LNNODDYV LISCd3SG GSYNSNI
ALMIEWT OS.UWM bboz ‘be - b Aine :pouag Sunsodey LNAWSLVLS ATHLNOW

MaSuVE VNUEVS NLLY
O71 Sasivd¥3i1N3 YaNnv1a

 

SB 001475
Case FON OODOT ECTS Document 1-1 Filed 080M 208 36 of 60 PagelD 55

571! sas seaayet J>he(g

EXHIBIT

SB 000739
“oy

 
Case 6:14-cv-00901-PGEARRS Document 1-1 Filed 06/10/14 AGE 37 of 60 PagelD 56

ISLAND OF NEVIS
OFFICE OF THE REGISTRAR OF COMPANIES

CERTIFICATE OF FORMATION

I HEREBY CERTIFY that

Blaker Enterprise, LLC

is duly formed and has filed articles of organization under the provisions of the Nevis
Limited Liability Company Ordinance 1995, as amended, on

10th January, 2011

Given under my Hand & Seal at Charlestown
this 10th day of January, 2011

bid

“ Registrar of Compapies

EjIDWSZL No. L 12671

 

lu

SB 000740
Case 6:14-cv-00901-PGBAGRS Document 1-1 Filed 06/10/14 rage 38 of 60 PagelD 57

| ISLAND OF NEVIS
OFFICE OF THE REGISTRAR OF COMPANIES

ENDORSEMENT CERTIFICATE

IN ACCORDANCE WITH THE PROVISIONS OF SECTION 4 OF THE
NEVIS LIMITED LIABILITY COMPANY ORDINANCE 1995, AS AMENDED

I CERTIFY that I have endorsed “FILED” upon the Original Articles of Organization of

Blaker Enterprise, LLC
as of 10th January, 2011

being the date of a receipt evidencing payment of all appropriate fees, upon which date
existence of said corporation commenced;

I FURTHER CERTIFY that an exact signed and acknowledged Duplicate of said Articles
of Organization has been filed with this office.

Given under my Hand & Seal at Charlestown
This 10th day of January, 2011

fokdecid

Registrar of Cojypanies

T7btSMKS na No. L 12671

 

SB 000741
Case O14 0v-00901- POE aaRS Document 1-1 Filed 061101 Maal 29° 39 of 60 PagelD 58

.
ne erent ere ete ceminte

ARTICLES OF ORGANIZATION

OF

 

 

Blaker Enterprise, LLC

 

PURSUANT TO THE NEVIS LIMITED LIABILITY
COMPANY ORDINANCE 1995

we
pa
m

 

SB 000742
Case 6:14-cv-00901-PGBERRS Document 1-1 Filed 06/10/14 age 40 of 60 PageID 59

ARTICLES OF ORGANIZATION

For the purpose of forming a limited liability company pursuant to The Nevis Limited Liability
Company Ordinance 1995, the undersigned does hereby make, subscribe, acknowledge and file
in the office of the Registrar of Companies this instrument for this purpose as follows:

1. The name of the limited liability company shail be:

Blaker Enterprise, LLC

2. The registered address of the company shall be Main Street, P.O. Box
556, Charlestown, Nevis. The company's registered agent at this address
shall be Morning Star Holdings Limited.

3. The company is to be managed by a Member or Members in their
capacity as members.

4. The company shall have as its principal purpose the right to engage in
any lawful act or activity for which limited liability companies may now
or hereafter be organized under The Nevis Limited Liability Company
Ordinance 1995.

5. The company shall have every power which a company now or hereafter
organized under The Nevis Limited Liability Company Ordinance 1995
may have.

SB 000743
  
 

1

Case 6:14-cv-00901-PGB-KRS Document 1-1 Filed 06/1 01M 0€ 41 of 60 PagelID 60

 

The name and address of each organizer
of these Articles is

 

 

NAME ADDRESS
|
Conrad L. Smithen P. O. Box 556

Charlestown, Nevis

 

IN WITNESS WHEREOF, I have executed this instrument on this 10th day of January, 2011.

 

SB 000744
Case 6:14-cv-00901-PGBAKRS Document 1-1 Filed 06/10/17 g,Page 42 of 60 PageID 61

CERTIFICATE OF NOTARY PUBLIC

Island of Nevis January 10, 2011

Town of Charlestown

On this date before me personally came Conrad L. Smithen known to me to
be the individual described in and who executed the foregoing Articles of

Organization of

Blaker Enterprise, LLC

 

in accordance with the provisions of Section 4 of The Nevis Limited Liability
Company Ordinance 1995 and he duly acknowledged to me that the
execution thereof was his act and deed, and I do now set my hand and seal in
witness of these acts in accordance with the provisions of the same Section of

the Ordinance.

[esnerp Ue o beef
Notary Public —

 

SB 000745
Case 6:14-cv-00901-PGB-RRS Document 1-1 Filed 06/10/14,,,Page 43 of 60 PagelD 62

DESIGNATION AND ACCEPTANCE OF REGISTERED AGENT

WHEREAS: Under the provisions of Section 14, of the Nevis Limited
Liability Company Ordinance 1995, as amended, companies formed under
that Ordinance are required to designate a Registered Agent, and failure to
maintain a Registered Agent shall result in the involuntary dissolution of the
company under Section 53;

WHEREAS: Morning Star Holdings Limited is duly licensed by the Island of
Nevis Government to act as Registered Agent and meets the requirements of
Section 14 of the Nevis Limited Liability Company Ordinance 1995; and

WHEREAS: Blaker Enterprise, LLC

in order to comply with the provisions of the Ordinance, has designated
Morning Star Holdings Limited its Registered Agent;

THEREFORE: Morning Star Holdings Limited hereby accepts designation
as Registered Agent for the above named company as of the date set forth

below.

for Morning Star Holdings Limited for Morning Star Holdings Limited

January 10, 2011

 

SB 000746
Case 6:14-cv-00901-PGRAKRS Document 1-1 Filed 06/10/14, Page 44 of 60 PageID 63

RESIGNATION OF ORGANIZATION RIGHTS

I, Conrad L. Smithen, organizer of Blaker Enterprise, LLC a company organized
under The Nevis Limited Liability Company Ordinance 1995, on the 10th day of
January, 2011, having duly organized the company, do hereby relinquish all rights,
title and interest in the company and do hereby resign from the position of organizer
and do hereby transfer and assign unto Sabrina Barber of 472 Valley View Drive,
Winter Garden, FL 34787, all my rights, title and interest as organizer of the

company.

IN WITNESS WHEREOF, I have executed this instrument on the 10th day of

January, 2011.

 

pee

 

WITNESS

SB 000747
Case 6:14-cv-00901-PGEAKRS Document 1-1 Filed 06/10/14,. Page 45 of 60 PagelD 64

Blaker Enterprise, LLC
Formed January 10, 2011

Minutes of the Organizational Meeting of the Organizer

The undersigned, being the Organizer of Blaker Enterprise, LLC held an
organizational meeting at Charlestown, Nevis, at 1:30 p.m., January 10, 2011.

Upon motion duly made and carried, the following resolution was adopted:

BE IT FURTHER RESOLVED, that Sabrina Barber of 472 Valley View Drive,
Winter Garden, FL 34787, be and is hereby designated Member of the company.

There being no further business, the meeting was adjourned.

 

Conrad L. Sihithen
yeah nizer

SB 000748
Case 6:14-cv-00901-PGEAKRS Document 1-1 Filed 06/10/14,,.Page 46 of 60 PageID 65

The Blaker Enterprises, LLC Limited Liability Company
A Nevis, West Indies Limited Liability Company

Article 1
Creation of the Limited Liability Company

Section 1.1 The Limited Liability Company

This Operating Agreement which is dated aonuary 2S 2011, establishes the conditions for
operation ofa limited liability company (LLC) under thé laws of Nevis, West Indies, pursuant to The

Nevis Limited Liability Company Ordinance of 1995 ("the Act"). Sabrina Barber, 472 Valley View
Drive, Winter Garden, FL 34787, is the Initial Member of this LLC. Subject to the provisions of the
Act, the LLC’s Manager shall operate the LLC under the terms and conditions of this Agreement.
Section 1.2 The Name of the Limited Liability Company

The name of the LLC is Blaker Enterprises, LLC. The Manager may change the name of the LLC
or operate the LLC under different names.

Section 1.3. Purposes of the LLC

The purposes of the LLC include, without limit, some or all of the following:
(a) to provide the maximum flexibility in business planning;
(b) _to provide simplicity in dealing with tax laws and filing requirements;
(c) to purchase and manage investments;

(d) — toconsolidate the Member's ownership and management of different businesses and
investments;

(e) to restrict the acquisition of interests in the Member's family business property by
persons outside of the Member's family; and

(f) to achieve valuation discounts for taxable gifts and bequest to the Member's family.
In order to accomplish its purposes, the LLC may conduct any lawful business and investment
activity permitted under the laws of Nevis and in any other jurisdiction in which it may have a
business or investment interest.
The LLC may own, acquire, manage, develop, operate, sell, exchange, finance, refinance, and

otherwise deal in any manner with real estate, personal property, and any other type of business as
the Manager may from time to time deem to be in the best interest of the LLC.

Biaker Enterprises, LLC
Operating Agreement Page 1 of 15

SB 000749
Case 6:14-cv-00901-PGEAKRS Document 1-1 Filed 06/1 0/1 Am, Page 47 of 60 PageID 66

The LLC may engage in any other activities which are related or incidental to the foregoing
purposes.

Section 1.4 Principal Office of the LLC and Location of Records

The street address of the principal office where the records of the LLC are to be maintained is 472
Valley View Drive, Winter Garden, Florida 34787, or such other place or places as The Manager
determines.

Section 1.5 Registered Agent and Registered Offices

The name of the Registered Agent of the LLC is Morning Star Holdings Limited, Hunkins
Waterfront Plaza, PO Box 556, Charlestown, Nevis, West Indies.

Section 1.6 The Term of the LLC

The term of the LLC shall begin on January 10, 2011, and shall continue in perpetuity, unless
terminated or extended as provided in this Agreement.

Section 1.7 Tax Matters

The Manager shall have all authority with regard to tax matters and elections pursuant to the Code
except as otherwise specified herein.

Article 2
Definitions

For purposes of this Agreement, unless the language or context clearly indicates that a different
meaning is intended, the following words, terms and phrases defined in this section have the
following meanings:

(a) Act means the Nevis Limited Liability Company Ordinance of 1995, as amended
from time to time.

(b) Additional Member means a member admitted to the LLC after the execution of the
Agreement who is not a Substitute Member.

(c) Assignee means a transferee of an LLC Interest who has not been admitted as a
Substitute Member in accordance with the provisions of this Agreement.

(d) Capital Contribution means anything of value that a person contributes to the LLC
as a prerequisite for, or in connection with, membership, including cash, property,
services rendered, or a promissory note or other binding obligation to contribute cash
or property or to perform services.

Blaker Enterprises, LLC
Operating Agreement Page 2 of 15

SB 000750
Case 6:14-cv-00901-PGB-KRS Document 1-1 Filed O6/LO/17 Page 48 of 60 PagelD 67

{e) Code means the Internal Revenue Code of 1986, as amended, and any successor to
that Code.

(f immediate Family includes any spouse, children, siblings, and parents.
(g) Initial Member means Sabrina Barber. This shall initially be a single-member LLC.

(bh) The LLC means Blaker Enterprises, LLC, a Nevis, West Indies limited liability
company filed on January 10, 2011, with the Office of the Registrar of Companies
of the Island of Nevis.

(i) Economic Interest shall mean the ownership interest and rights of a Member in the
LLC, including, without limitation, the Member's right to a distributive share of the
profits and losses, distributions of cash and property, but shall not include any other
rights or benefits, including, without limitation, the right to vote on, consent to, or
otherwise participate in any decision of the Members or the Manager, pursuant to this
Agreement or the Act.

{j) Manager means the person given rights and discretion to manage this LLC and its
assets pursuant to the terms of this Agreement. Manager as used herein shall include
the initial Manager and all successor or replacement managers.

(k) | Member means a person with an ownership interest in this LLC, with the rights and
obligations specified under the Act or Agreement. Specifically, Member shall mean
each of the parties who execute a counterpart of this Operating Agreement as a
Member and each of the parties who may hereafter become a Member.

(i) Membership Interest means the entire interest and rights of a Member in the LLC,
including, without limitation, the Member's right to a distributive share of the Profits
and Losses, distributions of cash and property; and the right to consent or approve
LLC actions to the extent provided herein. All Membership Interests are subject to
restrictions on transfer imposed by this Agreement and the Act. Each Member's
interest is personal property and, as such, no Member shall have any interest in any
of the assets of the LLC.

(m) Ownership Interest means all Membership Interest and Economic Interest. The
Ownership Interest held by a Member may be referred to herein as such Member's
Ownership Interest or "Ownership Percentage."

(n)  Suecessor Manager means the Manager appointed pursuant to Article Six of this

Agreement if all previous Managers have been removed or have resigned and no
replacement Manager has been appointed by the Members.

Blaker Enterprises, LLC
Operating Agreement Page 3 of 15

SB 000751
Case 6: M4-cv-00901- PCTARRS Document 1-1 Filed 06/10/14, Page 49 of 60 PagelD 68

(0) Substitute Member means any person not previously a member who acquires, by
purchase or otherwise, a LLC Interest and is admitted as a Substitute Member in
accordance with the terms of Article Nine of this Agreement.

Article 3
Members

Section 3.1 Name and Addresses of Member(s)

The names and address of the initial Member is as follows:

Name Address
Sabrina Barber 472 Valley View Drive
Winter Garden, FL 34787

No certificates of ownership shall be issued to Members to evidence ownership of LLC Interests.
This Agreement is the sole evidence of ownership. No other agreement or form including, for
example, tax retums or financial statements, are acceptable proof of LLC Interest ownership.

Section 3.2. Additional Members

Additional persons or entities may be admitted to the LLC as Members, and LLC Interests may be
issued to those additional Members upon unanimous consent of the current Members, which consent
may be withheld for any reason in their discretion, and on such terms and conditions as determined
by the Members and in accordance with the Articles of Organization and this Agreement. All new
Members must sign a copy of this Agreement and agree to be bound by the terms of this Agreement.

Section 3.3 Voting

Unless otherwise provided in this Agreement, all actions requiring a vote of the Members shall
Tequire the approval of the majority of the Members’ voting interest. Each Member shall have a
voting interest in proportion to their respective LLC Interest. No Member shall have the right to vote
or in any way participate in LLC affairs if and when his membership interest is subject to or
threatened by a charging order lien or any other legal process that could diminish or impair his
Economic Interest.

Section 3.4 Fiduciary Duty

Each Member shall have a fiduciary duty to the LLC and to all other Members.

Blaker Enterprises, LLC
Operating Agreement Page 4 of 15

SB 000752
Case 6:14-cv-00901-PGBIRRS Document 1-1 Filed 06/10/14,,,Page 50 of 60 PagelD 69

Section 3.5 Limitation on Liability

Each Member's liability shall be limited as set forth in this Operating Agreement, the Act and other
applicable law. No Member will have any personal liability for any debts or losses of the LLC
beyond their respective Capital Contributions, except as provided by law.

Section 3.6 Valuation of LLC Interests in the LLC

For all purposes, the value of the LLC as an entity and of LLC Interests shall be their respective fair
market value as determined by appraisal or other reasonable valuation methods.

Article 4
Capital Contributions

Section 4.1 Initial Capital Contribution
Sabrina Barber shall contribute $100 as her initial capital contribution to the LLC.
Section 4.2 Additional Capital Contributions

A Member may make additional capital contributions to the LLC at any time and in any form. The
Manager may in its sole discretion determine that the LLC requires additional capital contributions,
and in such case, the Manager shall give notice to each Member, or its assignee (holding an
Economic Interest), of the amount of additional contributions required, each Member's proportionate
share of the total capital contribution, and the date upon which the capital contribution is due and
payable. A Member's share of additional contributions shall be proportionate to the Member's (or
Assignee's) Ownership Percentage.

Ifa Member or its Assignee fails to make the additional cash contributions required by this Section
within 30 days of notice, then such Member or Assignee shall be in default of his obligations under
the Agreement. A defaulting Member forfeits his right to share in future LLC profits. Until such
time as the default is cured, a defaulting Member or its Assignee shall not be entitled to any
subsequent distributions of cash or other property from the LLC, regardless of whether the Manager
elects to make distributions. ,

Said default by a Member or Assignee shall not terminate the LLC. The remaining Members
(without regard to Assignees), in their sole discretion, may elect to continue the defaulting Member
or Assignee as an inactive Member without any right to share in future profits or to receive future
distributions, or they may elect to purchase the interest of the defaulting Member or Assignec for an
amount equal to his capital account as of the date of default. If the remaining Members elect to
purchase the interest of the defaulting Member, written notice af such election plus payment shal!
be delivered to the defaulting Member (or Assignee) within one month after date of default. If the
remaining Members elect to continue the defaulting Member (or Assignee) as an inactive Member,
then upon dissolution or termination of the LLC, the defaulting Member shall be entitled to receive

Blaker Enterprises, LLC
Operating Agreement Page 5 of 15

SB 000753
Case 6:14-cv-00901-PGBAKRS Document 1-1 Filed 06/10/1 Fem PAGe 51 of 60 PagelD 70

an amount equal to his capital account determined as of date of default. As noted, this Section shall
be binding on an assignee of a Member's Ownership interest.

Section 4.3 Record of Transfers of Membership Interest

Except as otherwise required by law, if any Ownership Interest is transferred in accordance with the
terms of this Agreement, the transferee shall be credited with the portion of Capital Contribution of
the transferor to the extent that it relates to the transferred LLC interest.

Section 4.4 Interest on and Return of Capital

No member shal! be entitled to any interest on any capital contribution. No member shall have the
right to demand or to receive the return of all or any portion of the Member's capita! contribution.

Article §
Distributions

Section 5.1 Distributions From the LLC

it is the primary intent of the LLC to retain funds in amounts determined in the sole discretion of the
Manager to meet the reasonable needs of LLC business, or to purchase or reinvest available cash in
profitable investments. Cash distributions are not anticipated. Nevertheless, the Manager may in its
sole discretion, but shall not be required to, distribute cash or property in kind to the Members.
Pursuant to Part VI, Paragraph 34 of the Act, and notwithstanding anything to the contrary in this
Agreement, distributions, if any, may be allocated among Members in proportions selected by the
Manager in his discretion without regard to Members’ respective contributions, prior distributions,
income tax allocation, or Economic Interest.

Section 5.2 No Implied Required Distributions

The Manager's distribution of cash or property at any time, and at any number of times, shall not
imply a requirement to make any future distributions.

Section 5.3 No Interest

A Member may elect not to withdraw all or any portion of its share of any distributions, in which
event the member shal] not be entitled to receive any interest.

Section 5.4 In Kind Distributions
Notwithstanding anything to the contrary in Part VI, Paragraph 35 of the Act, the Manager, in its sole
discretion, may make distributions in kind specifically including, without limitation, the making of

in-kind distributions in the form of one or more annuity contracts issued to a Member and naming
the Member as beneficiary.

Blaker Enterprises, LLC
Operating Agreement Page 6 of 1S

SB 000754
Case 6:14-cv-00901-PGEARRS Document 1-1 Filed 06/10/14 ,Page 52 of 60 PagelD 71

Article 6
Management of the LLC

Section 6.1 Initial Manager

The LLC will be managed initially by the Manager who may or may not be a Member. The Manager
may be an individual, corporate fiduciary, or financial institution. The initial Manager is Sabrina
Barber. The Members may by unanimous vote and with the consent of all acting Managers appoint
additional Managers. Management actions shall require majority vote of the Managers then serving.

Section 6.2 Removal or Resignation

Any Manager may resign effective upon the delivery of written notice to any Member, unless the
notice specifies a later effective date. In the event of a Manager's removal or resignation, remaining
Managers, if any, shall continue to serve as Manager. Members shall have no right to remove or
replace any Manager.

Section 6.3 Successor Manager

In the event all Managers are removed, resign, or for any other reason are unable or unwilling to
serve as Manager, and no Manager is then serving, the last serving Manager shall appoint the next
Successor Manager. AIl Successor Managers must be either an individual who is not a citizen or
resident of the United States or Canada or a financial institution or corporate fiduciary which does
not maintain offices or regularly conduct business in the United States or Canada.. In any event, this
LLC shall not terminate for the temporary absence of a Manager. A Member who is not serving as
Manager has no right to appoint a Successor Manager.

Section 6.4 Manager Powers

Except as otherwise provided in this Agreement, the Manager has sole authority to manage and
operate the LLC in the ordinary course of business. The Manager shall have full power to execute
and deliver on behalf of the LLC any and all documents and instruments which may be necessary
to carry on any LLC business or purchase and manage any LLC investment. The Manager shall have
complete discretion over investment assets of the LLC. Specific Manager powers shall include,
without limitation, the powers to:

(a) acquire by purchase, lease, or otherwise, any real or personal property, tangible or
intangible;

(b) sell, dispose, trade, or exchange LLC assets in the ordinary course of the LLC's
business;

(c) enter into agreements and contracts and to give receipts, releases and discharges;
(d) _ purchase liability and other insurance to protect the LLC's business and investments:
Blaker Enterprises, LLC

Operating Agreement Page 7 of 15

SB 000755
Case 6:14-cv-00901-PGBRRS Document 1-1 Filed 06/10/14 Page 53 of 60 PagelD 72

(e) borrow money for and on behalf of the LLC, and, in connection therewith, execute
and deliver instruments authorizing the confession of judgment against the LLC;

43) execute or modify leases with respect to any part or all of the assets of the LLC;

(g) prepay, in whole or in part, refinance, amend, modify, or extend any mortgages or
deeds of trust which may affect any asset of the LLC and in connection therewith to
execute for and on behalf«jthe LLC any extensions, renewals, or modifications of
such mortgages or deeds of trust;

(h) execute any and all other instruments and comments which may be necessary or in
the opinion of the Manager desirable to carry out the intent and purpose of this
Agreement, including, but not limited to, documents whose operation and effect
extend beyond the term of the LLC;

(i) make any and all expenditures which the Manager, in its sole discretion, deems
necessary or appropriate in connection with the management of the affairs of the LLC
and the carrying out of its obligations and responsibilities hereunder, including,
without limitation, all legal, accounting and other related expenses incurred in
connection with the organization and financing and operation of the LLC, the LLC's
assets, and its investments;

a to invest and reinvest LLC funds in common or preferred stocks, publically traded
securities, options, investment trusts, bonds and other property, real or personal,
foreign or domestic, including any undivided interest in any one or more common
trust funds;

(k) to join or become a party to, or to oppose, any reorganization, readjustment,
recapitalization, foreclosure, merger, voting trust, dissolution, consolidation or
exchange, and to deposit any securities with any committee, depository or trustee,
and to pay any fees, expenses and assessments incurred in connection therewith, and
to charge the same to principal, and to exercise conversion, subscription or other
rights, and to make any necessary payments in connection therewith, or to sell any
such privileges;

() to vote in person at meetings of stock or security holders and adjournments thereof,
and to vote by general or limited proxy with respect to any stock or securities;

(m) to hold stock and securities in the name of a nominee without indicating the trust

character of such holding, or unregistered or in such form as will pass by delivery,
or to use a central depository and to permit registration in the name of a nominee;

Blaker Enterprises, LLC
Operating Agreement Page 8 of 15

SB 000756
Case 6:14-cv-00901-PGBKRS Document 1-1 Filed 06/10/14, Page 54 of 60 PagelD 73

(n) _ to borrow money for any purpose from any source and to secure the repayment of any
and all amounts so borrowed by mortgage, lien, UCC-1, security agreement, or
pledge of any LLC property;

(0) to employ and pay the compensation of accountants, attorneys, experts, investment
counselors, custodians, agents, and other persons or firms providing services or
advice, irrespective of whether the Manager may be associated therewith; to delegate
discretionary powers to such persons or firms; and to rely upon information or advice
furnished thereby or to ignore the same, as the Manager, in its discretion, may
determine.

No person dealing with the Manager needs to inquire into the validity or propriety of any
document or instrument executed in the name of the LLC by the Manager, or as to the
authority of the Manager in executing same.

Section 6.5 Standard of Care

The Manager shal] exercise such powers and otherwise perform such duties in good faith, in the
matters such Manager believes to be in the best interests of the LLC, and with such care including
reasonable inquiry, using ordinary prudence, as a person in a like position would use under similar
circumstances.

Section 6.6 Action Without Meeting

Where more than one Manager is serving, any action required or permitted to be taken by the
Managers may be taken without a meeting if all Managers consent in writing to such action. Such
action by written consent shall have the same force and effect as a unanimous vote of the Managers.

Section 6.7 Fees and Compensation of Managers

An individual serving as Manager shall receive reasonable compensation for its services. All
corporate or institutional Managers shal! be compensated based on their standard fee schedules. The
LLC shall reimburse all Managers for their out-of-pocket expenses. Nothing herein contained shall
be construed to preclude any Manager from serving the LLC in any other capacity as an agent,
employee, attorney, or otherwise, and receiving reasonable compensation for such services.

Section 6.8 Protection from Liability
To the full extent permitted by law, the Manager is released from liability for damages and other
monetary relicf on account of any act, omission, or conduct in the Manager's managerial capacity

other than for fraud. No amendment or repeal of this section affects any liability or alleged liability
of the Manager for acts, omissions, or conduct that occurred prior to the amendment or repeal.

Blaker Enterprises, LLC
Operating Agreement Page 9 of 15

SB 000757
Case 6:14-cv-00901-PGB,KRS Document 1-1 Filed 06/10/17,,, Page 55 of 60 PagelD 74

Section 6.9 The Manager Shall Not Act Under Duress

The Manager shall disregard any vote, request, advice, or instruction from the Members if the
Manager believes such Member is being compelled by a U.S. court or any other source of
compulsion other than a Nevis court of competent jurisdiction.

Article 7
Books, Records, and Bank Accounts

Section 7.1 Books and Records

Books of account shall be kept with respect to the operation of the LLC. Such books shall be
maintained at the principal office of the LLC, or at any other place as the Manager shall determine
in its discretion.

Section 7.2 Accounting Basis and Fiscal Year

The books of account of the LLC shall be kept on a method authorized or required by the Code and
as determined by the Manager, and shall be closed and balanced at the end of each LLC tax year.

Article 8
Transfer of LLC Interests by a Member

Section 8.1 Restrictions on Transfer
Except as provided in this Article, a Member is prohibited from selling, transferring, encumbering
or otherwise disposing of any LLC Interest without the written consent of all Members and the
Manager, which consent is in their absolute discretion.
Section 8.2 Permitted Transfers
Notwithstanding anything to the contrary in this Article, a Member may assign his LLC Interest to
a Member of his Immediate Family or to a revocable or irrevocable grantor trust for the benefit
thereof so long as the proposed transfer does not:
(a) cause the LLC to terminate for federal income tax purposes;
(b) result in any event of default as to any secured or unsecured obligation of the LLC;
(c) Cause a reassessment of any rea] property owned by the LLC; or

(d) cause other adverse material impact to the LLC.

Likewise, upon a Member's death, the Member may assign his Membership Interest by will, trust,
or by a validly executed beneficiary designation to an Immediate Family member or to a trust created

Blaker Enterprises, LLC
Operating Agreement Page 10 of 15

SB 000758
Case 6:14-cv-00901-PGB-KRS Document 1-1 Filed 06/10/14 Page 56 of 60 PagelD 75

for the benefit of one or more Immediate Family members. If the assignment of a Member's LLC
Interest by will, trust, or validly executed beneficiary designation occurs after his death, and is to
more than one person in his Immediate Family, this Agreement shall be replaced by an Agreement
approved by a majority of the transferees.

Assignments of LLC Interests under this Section shall not require the approval of any other Member
or the Manager and the interests transferred shall continue as LLC Interests, notwithstanding any
contrary provisions above.

Section 8.3 Consequences of Transfer

Any transferee of an interest in the LLC (excluding solely the recipient of a Permitted Transfer) shall
be an Assignee holding an Economic Interest and shall not acquire the rights of a Member unless and
until the Assignee satisfies the requirements to become a Substitute Member. An Assignee of a
Membership Interest shall have no right either to be shown as a Member of the LLC, to participate
in the LLC affairs, to inspect any LLC business records, bookkeeping records, or books of account,
to receive information, directly or indirectly, from the Manager or any Member about the LLC
business, nor to exercise any other right of a Member. An Assignee shall be obligated to make any
additional capital contributions required by this Agreement. Any Assignee of a Member's Economic
Interest in the LLC shall therefore have only those rights granted to an Assignee under Part VII,
Section 42 of the Act, or its successor, until such time as the Assignee has been approved as a
Member of the Company and the other conditions described in this Article have been satisfied.

Section 8.4 Valuation of Membership Interest

If Members cannot agree on the value of a Membership Interest for any purpose, including Permitted
Transfers, the value shall be determined by an appraiser who is experienced in the valuation of
fractional interest accounts.

Section 8.5 Effect Upon a LLC Interest Acquired Without Consent

If any person, organization, or agency should acquire all or any part of a Member's LLC Interest
involuntarily as a result of, for example:

(a) —_ an order of'a court of competent jurisdiction which the LLC is required by Nevis law
to recognize; or

(b) —_ being subject to a lawful charging order by a Nevis court; or

(c) a levy or other transfer of an LLC Interest, with voting rights, which the LLC has not
approved but which the LLC is required hy Nevis law to recognize;

then, in such event, the converted interest shall be that of an assignee. In such event, the assignee
shall not become a Substitute Member without satisfying all requirements in this Agreement for
becoming a Substitute Member.

Blaker Enterprises, LLC
Operating Agreement Page 11 of 15

SB 000759
Case 6:14-cv-00901-PGBARRS Document 1-1 Filed 06/10/14 p_P age 57 of 60 PagelD 76

Section 8.6 Admission of Assignee as Substitute Member

All Members and the Manager acting unanimously shall have the exclusive power, in their absolute
discretion, to admit, or not to admit, as a Substitute Member any assignee or any other person which
acquires all or any part of the interest of a Member with or without the Member's consent. The
person seeking to be recognized as a Member shall execute and deliver to the LLC all instruments
necessary in connection with the admission of such person as a Member in a form satisfactory to the
Manager and all Members.

Article 9
Admission of Additional or Substitute Member(s)

Section 9.1. Admission of Member

No person, firm, corporation, trust, limited liability company, or other legal entity shall be admitted
to the LLC as an additional member without the unanimous consent of the Manager and all
Members, which consent may be withheld for any reason in their discretion. Therefore from the date
of the formation of the LLC, any person or entity acceptable to the Manager and the Members voting
unanimously in writing may become an Additional Member of the LLC by the issuance by the
Company of Membership Interests for such consideration as all Members and the Manager shall
determine.

Section 9.2 Limitations

Notwithstanding the provisions above, no additional or substitute member shall be admitted until
such prospective member completes the following actions:

(a) provides satisfactory evidence to the Manager that such an admission will not violate
any applicable securities laws, or cause a termination of the LLC;

(b) _ pays all reasonable expenses connected with such admission; and

(c) agrees to be bound by all of the terms and provisions of this Agreement, approved
by the Manager by executing the Agreement.

Section 9.3. Admissions in Violation of this Article

Any admission of an additional or substitute member in violation of this Article shall be null and
void and of no force and effect whatsoever.

Blaker Enterprises, LLC
Operating Agreement Page 12 of 15

SB 000760
Case 6:14-cv-00901-PGB,KRS Document 1-1 Filed 06/10/14,..Page 58 of 60 PagelD 77

Article 10
Dissolution and Termination

Section 10.1 Events of Dissolution
The LLC shall be dissolved upon the occurrence of any event described in this Section.

(a) The LLC shall be dissolved on a date designated by the Initial Member with the
unanimous written consent of the Members and the Manager then serving.

(b) The LLC shall be dissolved upon the death of all Members unless a single Member's
will or trust provides for the continuance of the LLC.

(c) In any event, the LLC shall be dissolved 99 years after the date of this Agreement.
Section 10.2 Change of Situs Not Dissolution
The Members, in their sole discretion, may, by unanimous agreement, change the situs, place of

registration, or governing law of the LLC, and such change shall not constitute a dissolution of the
LLC nor the creation of a new LLC or other entity.

Section 10.3 Continuation of LLC

Upon dissolution, the LLC shall thereafter conduct only activities necessary to wind up its affairs,
unless within 90 days after the date of the event causing dissolution, a majority of the remaining
Members elect to continue the LLC.

Section 10.4 Effective Date of Dissolution

Absent the election to continue the LLC as provided above, dissolution of the LLC shal! be effective
on the date on which the event occurs giving rise to the dissolution, but the LLC shall not be wound
up until the LLC's Articles of Organization is canceled and the assets of the LLC have been
distributed as provided in this Agreement.

Section 10.5 Operation of the LLC After Dissolution

During the period in which the LLC is winding up, the business of the LLC and the affairs of the
Members shall continue to be governed by this Agreement.

Upon dissolution of the LLC, the Manager or, in the absence of a Manager, a liquidator appointed
by a majority in interest of Members, shall liquidate the LLC property, apply and distribute the
proceeds derived from the liquidation of the Property as contemplated by this Agreement, and cause
the cancellation of the LLC's Articles of Organization.

Blaker Enterprises, LLC
Operating Agreement Page 13 of 15

SB 000761
Case 6:14-cv-00901-PGB RRS Document 1-1 Filed 06/10/14, Page 59 of 60 PagelD 78

The proceeds derived from the liquidation of the LLC property shall be distributed in the following
order:

(a) to the payment of LLC creditors, excluding Members, in the order of priority as
provided by law;

(b) to the payment of loans or advances made by the Members;

(c) to the Members in proportion to their Capital Accounts after adjustments for all
allocations of net profits and net loss.

Where the distribution consists both of cash and noncash assets, the cash shall be distributed first,
in descending order, to the above categories. With respect to the noncash assets, which distribution
values are to be based on the fair market value of the noncash asset as determined in good faith by
the liquidator, the liquidator may sell the noncash assets and distribute the cash proceeds or distribute
the assets in kind, in descending order, to the above categories. The Manager or liquidator may set
up such reserves as they deem reasonably necessary for any contingent or unforeseen liabilities or
obligations of the LLC.

Article 11
General Matters

Section 11.1 Successors and Assigns

Subject to the restrictions on transfer of interests provided in this Agreement, this Agreement, and
each and every provision of it, shall be binding upon and shall inure to the benefits of the Members,
if any, or their respective successors, personal representatives, heirs and assigns.

Section 11.2 Amendment

The Members in their sole and absolute discretion may by unanimous written agreement amend this
Agreement and/or the Articles of Organization at any time, any number of times, and for any reason,
provided that al] amendments are subject to the Manager's approval in its sole discretion.

Section 11.3 Construction

Unless the context requires otherwise, words denoting the singular may be construed as denoting he
plural, and words of the plural may be construed as denoting the singular. Words of one gender may
be construed as denoting another gender as is appropriate within such context.

Section 11.4 Headings of Articles, Sections, and Paragraphs

The headings of Articles, Sections, and Paragraphs used within this Agreement are included solely
for the convenience and reference of the reader. They shall have no significance in the interpretation

or construction of this Agreement.

Blaker Enterprises, LLC
Operating Agreement Page 14 of 15

SB 000762
Case 6:14-cv-00901-PGBASRS Document 1-1 Filed 06/10/14,,Page 60 of 60 PagelD 79

Section 11.5 Applicable Law

The validity of this Agreement shall be determined by reference to the laws of Nevis, West Indies,
unless the situs of the LLC has been changed by unanimous consent of the Members in their sole
discretion, in which case the validity of this Agreement shall be determined by reference to the laws
of the then current situs.

Section 11.6 Severability

If any provision of this Agreement is declared by a court of competent jurisdiction to be invalid for
any reason, such invalidity shall not affect the remaining provisions of this Agreement. The
remaining provisions shall be fully severable, and this Agreement shall be construed and enforced
as if the invalid provision had never been included.

Section 11.7 Executory Contract

The parties hereby intend and agree that this operating agreement constitutes an executory contract
under 11 U.S.C. 365, and its successors. The Agreement is an executory contract because of the
duties imposed on each of the Members and Managers including, without limitation, the fiduciary
duties of Managers and Members, the duties to make additional capital contributions, and the duties
to manage the business.

Section 11.8 Enforcement
No provision of this Agreement may be enforced by or for the benefit of a creditor of any Member

or by a trustee in bankruptcy.

IN WITNESS WHEREOF, Sabrina Barber has executed this Agreement as of the day and year first
above written.

 

Blaker Enterprises, LLC
Operating Agreement Page 15 of 15

SB 000763
